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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MERCER HEALTH & BENEFITS, LLC,

                      Plaintiffs,

     - against –                      Docket No. 18 Civ. 1805 (JGK)

MATTHEW DiGREGORIO, JOANNE
STEED, JADA PRESTON, and LOCKTON
COMPANIES, LLC,

     Defendants.




          DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
           TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                           INJUNCTION




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            Defendants Matthew DiGregorio (“DiGregorio”), Joanne Steed (“Steed”), Jada Preston

(“Preston” and, together with DiGregorio and Steed, the “Individual Defendants”), and Lockton

Companies, LLC (“Lockton Co.”) respectfully submit this Memorandum of Law in response to the

Order to Show Cause for a Temporary Restraining Order and a Preliminary Injunction entered in

this action on March 1, 2018 (Doc. No. 5) and Plaintiff’s brief in support thereof.

                                     PRELIMINARY STATEMENT

            DiGregorio, Steed, and Preston are former employees of Plaintiff Mercer Health &

Benefits, LLC (“Mercer” or “Plaintiff”) who have joined Southeast Series of Lockton Companies

LLC (“Lockton Southeast”), a competitor of Plaintiff’s. Years earlier, when DiGregorio, Steed,

and Preston first began working for Plaintiff, they signed Non-Solicitation and Confidentiality

Agreements (the “Employment Agreements”). This action arises out of alleged breaches of the

Employment Agreements by DiGregorio, Steed, and Preston. The appropriate scope of this

dispute includes determining: the extent to which the Employment Agreements are enforceable;

whether the Individual Defendants who signed those agreements breached any enforceable

provision; and what – if any – relief should be granted to Plaintiff.

            Instead, Plaintiff is using this action to improperly stifle competition. First, Plaintiff

named Lockton Co. – an entity that does not employ the Individual Defendants and has no

connection to this dispute – as a defendant.1 Second, Plaintiff has asserted a number of legally and

factually baseless claims with the aim of obtaining an injunction prohibiting not just the

solicitation of Plaintiff’s clients, but also of Plaintiff’s prospective clients – a category that




1
  To whatever extent Plaintiff inadvertently named the wrong Lockton entity in its Complaint, counsel for Defendants
informed Plaintiff of the issue at the March 1, 2018 hearing in this action (the “TRO Hearing”) and suggested that
Plaintiff file an amended complaint substituting Lockton Southeast – the Individual Defendants’ employer – for
Lockton Co. Indeed, at the TRO Hearing, Judge Engelmayer stated that he “expect[ed]” Plaintiff to file an amended
complaint by March 2, 2018 at 9:00 a.m. As of the date of this filing, Plaintiff has yet to do so.

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Plaintiff has wrongly defined so broadly as to encompass much of the entire marketplace. In

effect, Plaintiff is seeking an injunction preventing a competitor from competing with it.

            Judge Engelmayer granted Plaintiff temporary relief in the form of an order enjoining

defendants, among other things, from soliciting “any prospective clients of Mercer with whom any

Individual Defendant had contact or from whom any Individual Defendant solicited business on

behalf of Mercer during the last two years of his or her employment.” (TRO at 3). During the

TRO Hearing, Judge Engelmayer directed Mercer to prepare a list “limited to entities as to whom

Mercer has a specific factual basis for claiming that one of the three individual defendants knew

Mercer was preparing a pitch.” (TRO Hearing Tr. 74:2-10.) Mercer ignored the Court’s

instructions and submitted a grossly overbroad list of Eight Hundred and Seventy (870) entities.

The Court’s TRO was intended to provide Mercer with temporary relief tailored to the subject

matter of this action. Rather than accept that relief, Mercer instead attempted to hijack the TRO to

make it practically impossible for the Individual Defendants to work in the industry, and to

improperly hamstring a competitor’s business.

            Rather than entertain Mercer’s far-reaching invitation to prevent its competitor from

competing with it, this Court should focus on the legitimate questions at the heart of the dispute:

(1) to what extent, if any, did the Individual Defendants breach enforceable provisions of the

Employment Agreements; and (2) to what relief, if any, is Plaintiff entitled?

            The tort claims – specifically, the Fifth, Seventh, and Eight Claims for Relief – are all

premised on defendants’ alleged misappropriation of Mercer’s “Confidential Information and

Trade Secrets.” But the Complaint and the affidavits submitted by Plaintiff in support of the TRO

are utterly devoid of specifics as to what confidential information and trade secrets were allegedly

misappropriated. And this is with good reason: the Individual Defendants did not take or provide



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to any Lockton entity – and no Lockton entity received, let alone misused – any confidential

information or trade secrets. Ultimately, Plaintiff has failed to demonstrate that it has any

likelihood of succeeding in any of its claims against any Lockton entity.

            As to the Individual Defendants, this Court has previously ruled that Non-Solicitation

Agreements similar to those here are not enforceable to the extent they cover prospective clients.

Moreover, multiple New York courts have held that restrictive covenants in insurance broker

employment agreements – such as the agreements drafted by Marsh USA, an affiliate of Plaintiff,

and in the same industry – are not enforceable at all.

            Plaintiff has not shown that it is likely to succeed in any of its claims against defendants.

Accordingly, the TRO must be vacated, and Plaintiff must be denied any injunctive relief.

                                         STATEMENT OF FACTS2

            On or about January 17, 2018, Lockton Southeast – which, together with the other Lockton

entities, comprises the world’s largest, privately held, independent insurance broker – hired

DiGregorio, Steed, and Preston, all of whom previously worked for Mercer, a competitor of

Lockton Southeast.3 See DiGregorio Decl. ¶ 4; Steed Decl. ¶ 4; Preston Decl. ¶ 4; Sharma Decl.

¶ 4. Years earlier, each of the Individual Defendants had signed Employment Agreements with

Mercer that purport to restrict: (1) their ability to solicit or service former, current, and prospective

clients of Mercer; and (2) their use of Mercer’s “Confidential Information and Trade Secrets.”



2
 The relevant facts are more fully set forth in the Declarations of Matthew DiGregorio (“DiGregorio Decl.”), JoAnne
Steed (“Steed Decl.”), Jada Preston (“Preston Decl.”), and Manoj Sharma (“Sharma Decl.”) submitted herewith.
Depositions of individuals with knowledge relevant to this dispute have been scheduled to take place before the March
15 preliminary injunction hearing scheduled in this action. However, as of the date of this filing, no depositions have
yet taken place. Accordingly, defendants reserve the right to present additional facts at the hearing.
3
  In Plaintiff’s Memorandum of Law in Support of its Motion for a Temporary Restraining Order, Preliminary
Injunction and Expedited Discovery (“Pl. Mem.”), Plaintiff cited to a number of actions that have been commenced
against Lockton entities over the previous twelve years. Pl. Mem. at 2. Not only do those actions lack any relevance
whatsoever to this action, but not one of those cases resulted in any kind of finding that any Lockton entity had
committed any wrongdoing.

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            When Lockton Southeast hired the Individual Defendants, each of them was instructed not

to take any Mercer documents or information with them. See DiGregorio Decl. ¶ 9; Steed Decl.

¶ 7; Preston Decl. ¶ 7; Sharma Decl. ¶ 5.       The Individual Defendants followed those instructions

– none of them took any confidential documents or information from Mercer to Lockton

Southeast, nor did they share any confidential documents or information of Mercer with Lockton

Southeast. See DiGregorio Decl. ¶¶ 9, 10; Steed Decl. ¶¶ 7, 8; Preston Decl. ¶¶ 7, 8; Sharma Decl.

¶¶ 5-7. The Individual Defendants did not retain – let alone provide to any Lockton entity – any

documents from Mercer concerning client pricing, preferences, or renewal dates. See DiGregorio

Decl. ¶ 11; Steed Decl. ¶ 9; Preston Decl. ¶ 9.

            As the Individual Defendants left Mercer, they retained only their Outlook contact lists,

which consist of publicly-available information including names, addresses, phone numbers, and

e-mail addresses for their contacts. Each contact list includes not just information for professional

contacts – all of which are well-known companies readily ascertainable as potential business

opportunities – but also contact information for friends and family. The entries in the contact list

were accumulated from: internet research; reviews of directories; publicly filed documents such

as IRS Form 5500s; and years of personal and professional interactions, including attendance at

trade shows and professional or networking events. See DiGregorio Decl. ¶¶ 5-7; Steed Decl. ¶¶ 5,

6; Preston Decl. ¶¶ 5, 6.

            Lockton Co. is a Missouri limited liability company that has no employees and whose sole

member is another limited liability company. Sharma Decl. ¶ 10. Each “Series LLC” affiliated

with Lockton Co. is an operating company for a specific region – for example, Lockton Southeast.

Lockton Southeast is the operating company for the Southeast United States. Lockton Southeast –

and not Lockton Co. – is the Individual Defendants’ employer. Sharma Decl. ¶¶ 4, 10. In fact,



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Lockton Co. has no relationship with the Individual Defendants and lacks any connection to the

subject matter of this dispute.

                                       LEGAL STANDARD

            “A party seeking a preliminary injunction ordinarily must show: (1) a likelihood of

irreparable harm in the absence of the injunction; and (2) either a likelihood of success on the

merits or sufficiently serious questions going to the merits to make them a fair ground for

litigation, with a balance of hardships tipping decidedly in the movant’s favor.” Doninger v.

Niehoff, 527 F.3d 41, 47 (2d Cir. 2008). To establish a likelihood of irreparable harm, a party must

demonstrate that, absent injunctive relief, it will suffer “an injury that is neither remote nor

speculative, but actual and imminent.” Tucker Anthony Realty Corp. v. Schlesinger, 888 F.2d 969,

975 (2d Cir.1989) (quotation and citation omitted). To the extent that the injunction sought will

alter the status quo, the injunction should only issue “upon a clear showing that the moving party is

entitled to the relief requested, or where extreme or very serious damage will result from a denial

of preliminary relief.” Fishman v. Paolucci, 628 F. App’x 797, 800 (2d Cir. 2015) (quotation,

citation, and emphasis omitted).

                                           ARGUMENT

I.          THE INDIVIDUAL DEFENDANTS DID NOT TAKE – AND LOCKTON DID NOT
            RECEIVE – ANY “CONFIDENTIAL INFORMATION”

            A.    The Complaint and Affidavits Submitted by Mercer Fail to Identify Any
                  Allegedly Misappropriated Confidential Information

            The Complaint asserts that the Individual Defendants misappropriated Mercer’s

“Confidential Information and Trade Secrets,” as defined in the Confidentiality provisions in the

Employment Agreements. Compl. ¶¶ 7, 10, 105. It also implies that the Individual Defendants

misappropriated “client information” and “personnel information” as defined in the Employment

Agreements. Compl. ¶¶ 35, 60, 80. However, there are no specific allegations in the Complaint as

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to what client or personnel information the Individual Defendants supposedly misappropriated.

Instead, allegations regarding disclosure of such information are solely based upon Mercer’s

information and belief, and not personal knowledge.

            The affidavits submitted by Mercer in support of the TRO are similarly vague as to the

confidential information allegedly misappropriated by the Individual Defendants. At best, the

affidavits suggest that the Individual Defendants may have misappropriated (i) customer lists of

Mercer clients and (ii) certain proprietary pricing information or other information about the

customers other than the contact list. See Marini Decl. ¶ 12; Lynn Decl. ¶ 11.

            Based on the foregoing, there is no basis to grant a preliminary injunction on Counts 3, 4, 5,

7 and 8. Each of Counts 3, 4, 5, 7, and 8 of the Complaint are premised on a misappropriation of

confidential information. See Compl. ¶¶ 138-140, 145-46, 173-74, 177, 182-186. Mercer,

however, has made only theoretical, unidentified assertions of the use or disclosure of unidentified

information. Without any concrete evidence regarding the misuse of confidential information,

Mercer cannot show a likelihood of success on the merits as to each of these claims. And there will

be no such concrete evidence introduced at the hearing because the record evidence will show that

there was no misuse of confidential information here.

            B.     The Individual Defendants Did Not Misappropriate any Confidential Client
                   Information

            Despite Mercer’s failure to identify any confidential information taken by the Individual

Defendants, Mercer’s affidavits focus on two potential categories of confidential information –

client information and pricing information. As set forth below, even if the Individual Defendants

retained any such information – and they did not – neither of these categories of information is

actually confidential in this instance.




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                  1.       The Individual Defendants’ Outlook Contacts are Not Confidential
                           Information

            The Individual Defendants retained only their own, personal list of Outlook contacts, some

of whom are Mercer clients, many of whom are not, and many of whom were contacts before the

Individual Defendants joined Mercer. See DiGregorio Decl. ¶ 5; Steed Decl. ¶ 5. These contact

lists include only the names, addresses, phone numbers, and e-mail addresses for these persons.

See DiGregorio Decl. ¶ 5; Steed Decl. ¶ 5; Preston Decl. ¶ 5. The Individual Defendants did not

retain anything other than their own contact lists. See DiGregorio Decl. ¶ 9; Steed Decl. ¶ 9;

Preston Decl. ¶ 9.

            Mercer will likely assert that the Individual Defendants’ list of Outlook contacts contains

“client information,” that is “Confidential Information and Trade Secrets” under the Employment

Agreements. Such restriction, however, is unenforceable under New York law, which governs

here. Restrictive covenants in employment agreements should only be enforced where “necessary

to protect the employer’s legitimate interests.” Reed, Roberts Assocs. v. Strauman, 40 N.Y.2d 303,

307 (N.Y. 1976). Under the legitimate inquiry test, such restrictive covenants are enforceable only

(1) to the extent necessary to prevent the disclosure or use of trade secrets

or confidential information, or (2) where an employee’s services are unique or extraordinary. Id.

at 308.

            To establish particular information as protected confidential customer information, a

plaintiff “must demonstrate that the information is not known in the trade and is only discoverable

through extraordinary efforts.” Silipos, Inc. v. Bickel, No. 06 Civ. 2205, 2006 WL 2265055, at *5

(S.D.N.Y. Aug. 8, 2006) (citing Battenkill Veterinary Equine P.C. v. Cangelosi, 768 N.Y.S.2d

504, 507 (N.Y. App. Div. 2003)); see also Kelly v. Evolution Markets, Inc., 626 F. Supp. 2d 364,

373 (S.D.N.Y. 2009) (citing Columbia Ribbon & Carbon Mfg. Co. v. A–1–A Corp., 42 N.Y.2d


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496, 499 (N.Y. 1977)) (“A customer list is not confidential where the past or prospective

customers are ‘readily ascertainable’ from non-confidential sources outside the employer's

business.”).

            Customer lists have been determined to be readily ascertainable from non-confidential

sources when such contact information is available (i) “by calling the companies’ general lines,…

through external sources such as LinkedIn and Google,… and directories of buyers in

the…industry,” Free Country Ltd v. Drennen, 235 F. Supp. 3d 559, 566 (S.D.N.Y. 2016); (ii) from

“hiring representatives, attending trade shows, [] meeting buyers from various companies[, and]

simple internet searches,” Art and Cook, Inc. v. Haber, 17-cv-1634 (LDH), 2017 WL 4443549,

at *3 (E.D.N.Y. Oct. 3, 2017); or (3) “through the yellow pages of the telephone book,” Briskin v.

All Seasons Servs., Inc., 615 N.Y.S.2d 166, 166 (4th Dep’t 1994).

            Based on the foregoing standards, “customer lists are generally not considered confidential

information.” H. Meer Dental Supply Co. v. Commisso, 702 N.Y.S.2d 463, 465 (3d Dep’t 2000);

see also TBA Global, LLC v. Proscenium Events, LLC, No. 651171/2012, 2013 WL 1455933, at

*1 (Sup. Ct. N.Y. Cnty. Apr. 1, 2013) (clients in the film insurance industry are “large well-known

companies readily ascertainable as potential business opportunities” and knowledge of their

identities simply cannot be considered confidential); Ivy Mar Co. v. C.R. Seasons Ltd., 907 F.

Supp. 547, 557-58 (E.D.N.Y. 1995) (customer list of retail merchants is not a trade secret where

the customers are “openly engaged in business and known generally in the trade”).

            Here, the evidence will show that Mercer’s clients and prospects are well-known

companies readily ascertainable as potential business opportunities. The Individual Defendants

have submitted declarations and will testify that they primarily identified prospective clients by

attending networking and professional events, reviewing directories and purchased lists,



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conducting internet searches, and by reading IRS Form 5500s which are required to be filed by

ERISA participants and are publicly available. See DiGregorio Decl. ¶ 6; Steed Decl. ¶ 6; Preston

Decl. ¶ 6.

            In fact, the New York Supreme Court has specifically rejected the same argument made by

Mercer here in a case involving Mercer’s sister entity, Marsh USA, Inc., involving virtually

identical confidentiality agreements in virtually the same business. See Marsh USA, Inc. v. Alliant

Ins. Servs., Inc., 26 N.Y.S. 3d 725, 725 (Table) (Sup. Ct. N.Y. Cnty. 2015) (“Alliant”). In that

case, Marsh USA, Inc. asserted that its former employees breached their confidentiality

agreements by e-mailing their “rolodexes” to themselves. The New York Supreme Court held that

“[t]he Individual Defendants’ rolodexes contained publicly available information on current and

potential clients that could be found in a phone book or on the Internet” and therefore was not

confidential information. Id.; see also Marsh USA Inc. v. Doerfler, 9 N.Y.S.3d 594 (Table) (Sup.

Ct. N.Y. Cnty. 2015) (“Doerfler”) (denying preliminary injunction to enforce restrictive

covenants); Iron Mountain Info. Mgmt., Inc. v. Taddeo, 455 F. Supp. 2d 124, 139-40 (E.D.N.Y.

2006) (finding salesperson who took only his own contact list did not take confidential

information); Nebraskaland, Inc. v. Brody, No. 09 Civ. 9155, 2010 WL 157496, at *7 (S.D.N.Y.

Jan. 13, 2010) (finding that defendant’s own contact list developed over the past 30 years was not

confidential information of the plaintiff).

            Mercer asserts that this Court has previously granted preliminary injunctions based upon

nearly identical terms to the Mercer Confidentiality Agreement. See TRO Brief at 14. See also

Marsh USA Inc. v. Karasaki, No. 08 Civ. 4195 (JGK), 2008 WL 4778239 (S.D.N.Y. Oct. 31,

2008) (“Karasaki”); Marsh USA Inc. v. Schuhriemen, 183 F. Supp. 3d 529 (S.D.N.Y. 2016)

(“Schuhriemen”). Neither of these cases, however, granted a preliminary injunction based upon



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the misappropriation of confidential information. See Karasaki, at *2, fn 6 (“at the September 24

hearing, plaintiffs’ counsel conceded that Marsh was not relying upon a misappropriation of

confidential information theory to support its breach of restrictive covenant claim.”);

Schuhriemen, at 531 n.2 (Court only enjoined solicitation and did not discuss any alleged

misappropriation of confidential information).

            Based on the foregoing, and the evidence to be presented at the hearing, Mercer will be

unable to meet its burden for a preliminary injunction. Mercer cannot show a likelihood of success

that the Individual Defendants’ Outlook contacts are protectable confidential information because

the Outlook contacts solely include publicly available information concerning readily identifiable

customers. Moreover, Mercer cannot show a likelihood of success that any Lockton entity

misused confidential information since the contact list is not, in fact, confidential.

                  2.      The Individual Defendants’ Recollection of Customer Information is Not
                          Confidential

            Despite Mercer’s allusions to the contrary, the Individual Defendants did not retain any

information from Mercer concerning customer pricing, preferences, recent losses, terms, or

renewal dates. See DiGregorio Decl. ¶ 11; Steed Decl. ¶ 9; Preston Decl. ¶ 9. To the extent the

Individual Defendants have such information, it is based solely on their own recollection. See

DiGregorio Decl. ¶ 11; Steed Decl. ¶ 9; Preston Decl. ¶ 9. The “use of information about an

employer’s customers which is based on casual memory [] is not actionable,” Arnold K. Davis &

Co. v. Ludemann, 559 N.Y.S.2d 240, 241 (1st Dep’t 1990). “It is well settled that an employee’s

recollection of information pertaining to the needs and habits of particular customers is not

actionable.” Buhler v. Michael P. Maloney Consulting, Inc., 749 N.Y.S.2d 867, 868 (1st Dep’t

2002). Accord Natural Organics, Inc. v. Kirkendall, 860 N.Y.S.2d 142, 143 (2d Dep’t 2008).




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            In any event, this category of allegedly confidential customer information is not

confidential under New York law.             This Court recently held that      the “insurance account

information such as policy information, expiration dates, terms and conditions, and pricing all

belong to clients, not brokers, and that such information can be shared by clients with competing

brokers,” and thus is not confidential information of the brokers. Dewitt Stern Grp., Inc. v.

Eisenberg, 257 F.Supp.3d 542, 582 (S.D.N.Y. 2017). Moreover, for clients with over one hundred

(100) participants, information concerning the company’s health and benefits plans, which was the

Individual Defendants’ area of focus, is filed on IRS Form 5500 and publicly available for free at a

number of websites, including the website for United States Department of Labor. See DiGregorio

Decl. ¶¶ 7, 8. Thus, even if the Individual Defendants retained any information about the

customers’ preferences – which they did not – none of that information would be confidential

information of Mercer.

            Once again, Mercer has failed to show a likelihood of success on the merits regarding the

misappropriation of confidential information.             The Individual Defendants do not have any

confidential customer information, and the types of information that Mercer asserts is confidential

are not confidential under New York law. Since none of the information is confidential, neither

the Individual Defendants nor any Lockton entity could conceivably have misused any

confidential information.        Accordingly, Mercer’s request for a preliminary injunction on the

misuse of confidential information should be denied.

II.         THERE IS NO BASIS FOR GRANTING ANY RELIEF AGAINST ANY
            LOCKTON ENTITY

            As discussed above this dispute is, in essence, a breach of contract action arising out of the

Individual Defendants’ Employment Agreements. Despite the fact that neither Lockton Co. nor

Lockton Southeast are parties to those agreements, Plaintiffs have attempted to shoehorn a


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Lockton entity into the action by asserting a number of common law claims against Lockton Co.,

including: (1) Tortious Interference with Existing and Prospective Business Relationships (Fifth

Claim for Relief); (2) Tortious Interference with Contract (Sixth Claim for Relief); (3) Unfair

Competition (Seventh Claim for Relief); and (4) Misappropriation of Confidential Information

(Eighth Claim for Relief). For the reasons discussed below, these claims are factually and legally

baseless. Plaintiff cannot show a likelihood of succeeding in any of these claims against Lockton,

and thus, there is no basis for granting any relief against any Lockton entity, much less Lockton

Co.

            A.     This Court Lacks Personal Jurisdiction Over Lockton Co.

            Plaintiff cannot show a likelihood of success for any of its claims against Lockton Co.

because Plaintiff cannot establish that this Court has personal jurisdiction over Lockton Co. “The

Due Process Clause of the Fourteenth Amendment constrains a State’s authority to bind a

nonresident defendant to a judgment of its courts.” Walden v. Fiore, 134 S.Ct. 1115, 1121 (2014).

Thus, a court may not exercise personal jurisdiction over a nonresident defendant unless that

defendant has “certain minimum contacts [with the forum state] such that the maintenance of the

suit does not offend traditional notions of fair play and substantial justice.” Id. (quotation

omitted).

            Plaintiff has effectively conceded that Lockton Co. is not subject to general personal

jurisdiction in light of Daimler AG v. Bauman, 134 S. Ct. 746 (2014). See Compl. ¶ 16 (“[Lockton

Co.] is a Missouri limited liability company with its principal place of business located [in

Missouri].”).      “The inquiry whether a forum State may assert specific jurisdiction over a

nonresident defendant focuses on the relationship among the defendant, the forum, and the

litigation . . . [and] the relationship must arise out of contacts that the defendant himself creates

with the forum state.” Walden, 134 S. Ct. at 1121-22 (quotation and citation omitted; emphasis

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added). Due process precludes exercise of specific personal jurisdiction over Lockton Co. because

the Complaint fails to allege that any of Plaintiff’s claims arise from any contacts that Lockton Co.

purposefully created with New York.

            The only contacts that Plaintiff alleges exist between Lockton Co. and New York are that

“Defendant Lockton regularly conducts business in the State of New York, is registered to do

business in the State of New York, and maintains an office [in New York].” Compl. ¶ 17. Even if

that were true – and it is not – to the extent that such contacts exist, they “cannot [] serve as a basis

for specific jurisdiction without there also being a connection between those New York contacts

and the claim before the court.” NextEngine Ventures, LLC v. Network Sols., LLC, No. 153341/17,

2017 WL 4569679, at *3 (Sup. Ct. N.Y. Cnty. Oct. 13, 2017); see also Bristol-Myers Squibb Co. v.

Superior Court of Cal., 137 S. Ct. 1773, 1781 (2017) (“When there is no [affiliation between the

forum and the underlying controversy], specific jurisdiction is lacking regardless of the extent of a

defendant’s unconnected activities in the State.”).

            Lockton Co. has no connection with the subject matter of this dispute, let alone a

connection arising out of any contacts between Lockton Co. and the State of New York.

Moreover, all of the Individual Defendants’ alleged activities took place in Florida. Lockton does

not employ any of the Individual Defendants; on the contrary, Lockton has no employees at all.

See Sharma Decl. ¶ 10. Plaintiff is unable to make a prima facie showing that this Court has

personal jurisdiction over Lockton Co., and thus, Plaintiff cannot show a likelihood that its claims

against Lockton Co. will survive a motion to dismiss, let alone a likelihood of success on the

merits. Accordingly, Plaintiff’s request for any injunctive relief against Lockton Co. must be

denied.




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            B.     Lockton Southeast Did Not Tortiously Interfere with any Enforceable
                   Contract

            To state a claim for tortious interference with an existing contract, a plaintiff must allege

that: (1) a valid contract subject to interference exists; (2) the defendant had knowledge of the

contract; (3) a willful and intentional act of interference with the contract by defendant, without

justification, that procures the third-party’s breach of the contract; (4) actual breach of the contract;

and (5) damages resulting therefrom. See, e.g., Kirch v. Liberty Media Corp., 449 F.3d 388,

401-02 (2d. Cir. 2006). The plaintiff must also assert that, but for the defendant’s activities, there

would not have been a breach of the contract. See, e.g., Restis v. Am. Coalition Against Nuclear

Iran, Inc., 53 F. Supp.3d 705, 727 (S.D.N.Y. 2014).

            As discussed below, the Non-Solicitation provisions of Individual Defendants’

Employment Agreements are unenforceable, and, thus, are not subject to interference. Further,

Mercer – which has doubtlessly already searched the Individual Defendants’ pre-resignation

communications with one another – has not demonstrated that it will be likely to successfully show

that any Lockton entity intentionally induced, encouraged, assisted, or permitted any of the

Individual Defendants to violate any provisions of their agreements with Plaintiff. For these

reasons, Plaintiff is unlikely to succeed on the merits of its claim for tortious interference with

existing contracts.

            C.     Defendants Did Not Tortiously Interfere With Plaintiff’s Existing or
                   Prospective Business Relationships

            To state a claim for tortious interference with prospective business relationships under

New York law, a plaintiff must allege that “(1) it had a business relationship with a third party; (2)

the defendant knew of that relationship and intentionally interfered with it; (3) the defendant acted

solely out of malice, or used dishonest, unfair, or improper means; and (4) the defendant’s

interference caused injury to the relationship.” Kirch, 449 F.3d at 400 (internal quotation marks

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and citations omitted). Under New York law:

            The third element poses a particularly high hurdle, for it requires a plaintiff to show
            that the defendant committed a crime or an independent tort such as fraud, or acted
            for the sole purpose of inflicting intentional harm on the plaintiff. The defendant’s
            conduct must be, by definition, conduct directed not at the plaintiff itself, but at the
            party with which the plaintiff has or seeks to have a relationship. Further, the
            plaintiff must establish that it would have entered into an economic relationship
            with the third party but for the defendant’s wrongful conduct.

Continental Indus. Group, Inc. v. Altunkilic, 14 Civ. 790, 2017 WL 2895933, at *6 (S.D.N.Y. July

7, 2017) (quotations and citations omitted).

            “Conclusory allegations of interference with an unspecified contract or of wrongful,

intentional, malicious, or improper actions are insufficient at the pleading stage.” Tarazi v.

Truehope, Inc., 13 Civ. 1024, 2017 WL 5957665, at *19 (S.D.N.Y. July 28, 2017); accord

Symquest Group, Inc. v. Canon U.S.A., Inc., 186 F. Supp.3d 257 (E.D.N.Y. 2016).                        And

allegations that are based “solely on [a plaintiff’s] ‘suspicions,’” as is the case here throughout the

Complaint, “cannot suffice to support a claim for tortious interference.” Nadel v. Play-By-Play, &

Novelties, Inc., 208 F.3d 368, 382 (2d Cir. 2000).

            Plaintiff here cannot show that any defendant “committed a crime or an independent tort

such as fraud, or acted for the sole purpose of inflicting intentional harm on the plaintiff,”

Continental Indus. Group, WL 2895933 at *6, because no such thing happened. The only

improper means alleged by Plaintiff is a bare allegation that “Lockton has directly or indirectly

received Mercer’s Confidential Information and Trade Secrets, and encouraged, or participated in

its use in order to [solicit clients].” Compl. ¶ 159. But the evidence will disprove that allegation.

As discussed above, the Individual Defendants did not provide any Lockton entity with

confidential information or trade secrets, and no Lockton entity received – let alone used – any of

Plaintiff’s confidential information or trade secrets. Thus, Plaintiff will be unable to succeed on

any tortious interference claim.

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            Moreover, Plaintiff’s claim for tortious interference with prospective clients will be

doomed by Plaintiff’s inability to show that communications with any prospective client “would

have culminated in a contract but for the interference of [defendant].” Susskind v. IPCO Hos.

Supply Corp., 373 N.Y.S.2d 627, 629 (2d Dep’t 1975); accord Continental Indus. Group, 2017

WL 2895933, at *7 (“Without any factual allegations to demonstrate that the suppliers and

customers would have continued with [plaintiff] but for [defendant’s] actions, [plaintiff] has not

articulated an actionable claim for tortious interference with prospective economic advantage.”).

When stripped of its conclusory, speculative, and unsupported allegations, all that remains of

Plaintiff’s tortious interference claim are allegations about “[a]ctions intended to solicit business,

which are motivated by economic self-interest”; such allegations “cannot be characterized as

malicious.” Tri-Star Lighting Corp. v. Goldstein, 58 N.Y.S.3d 448, 454 (2d Dept. 2017) (citation

omitted).

            For these reasons, Plaintiff is unlikely to succeed on the merits of its claim for tortious

interference with prospective business relationships.

            D.     Defendants Did Not Unfairly Compete or Misappropriate Confidential
                   Information

            A common law claim for misappropriation of trade secrets requires the plaintiff to show

“(1) that it possessed a trade secret, and (2) that the defendant used that trade secret in breach of an

agreement, confidential relationship or duty, or as a result of discovery by improper means.”

Faiveley Transport Malmo AB v. Wabtec Corp., 559 F.3d 110, 117 (2d Cir. 2009) (quotation and

citation omitted). As discussed above, Plaintiff has not shown and cannot show that any of the

Individual Defendants provided any Lockton entity with trade secrets, let alone that any defendant

made use of those trade secrets. The failure to properly allege facts showing the existence of an

actual “trade secret” is fatal to Plaintiff’s Misappropriation of Confidential Information claim. See


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Elsevier Inc. v. Doctor Evidence, LLC, No. 17 Civ. 5540, 2018 WL 557906, at *3-5 (S.D.N.Y. Jan.

23, 2018) (dismissing common law claim for misappropriation of trade secrets and statutory claim

under DTSA because plaintiff failed to properly plead “sufficient facts that support trade secret

status”).

            To sustain an unfair competition claim involving misappropriation, a plaintiff must

establish that the defendant (1) “misappropriated the plaintiffs’ labors, skills, expenditures or good

will”; and (2) “displayed some element of bad faith in doing so.” Abe’s Rooms, Inc. v. Space

Hunters, Inc., 833 N.Y.S.2d 138, 140 (2d Dep’t 2007). The allegations upon which Plaintiff’s

misappropriation claim is based – that defendants learned and misused Plaintiff’s confidential

information or trade secrets – are the same allegations upon which Plaintiff’s misappropriation of

confidential information claim is based. Thus, Plaintiff will be unlikely to succeed on its unfair

competition claim for the same reasons that Plaintiff will be unlikely to succeed on its unfair

completion claim. See Continental Indus. Group, Inc., 2017 WL 2895933, at *14 (dismissing

unfair competition claim where it relied on the same insufficient underlying facts as other claims).

III.        THE TEMPORARY RESTRAINING ORDER AND PROPOSED PRELIMINARY
            INJUNCTION EXCEED THE ENFORCEABLE SCOPE OF THE EMPLOYMENT
            AGREEMENTS

            “The issue of whether a restrictive covenant not to compete is enforceable by way of an

injunction depends in the first place upon whether the covenant is reasonable.” Ticor Title Ins. Co.

v. Cohen, 173 F.3d 63, 69 (2d Cir. 1999) (citing Reed, Roberts Assocs., 40 N.Y.2d at 307). Courts

evaluating the reasonableness of an employment agreement should employ “a three-pronged test,”

and should only enforce a restraint “if it: (1) is no greater than is required for the protection of the

legitimate interest of the employer, (2) does not impose undue hardship on the employee, and (3) is

not injurious to the public. A violation of any prong renders the covenant invalid.” BDO Seidman

v. Hirshberg, 93 N.Y.2d 382, 388–89 (N.Y. 1999) (citation and emphasis omitted).

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            A.     The Non-Solicitation Provisions of the Individual Defendants’ Employment
                   Agreements are Unenforceable to the Extent that they Apply to Prospective
                   Clients

            To whatever extent restrictive covenants such as those at issue might be enforceable as to

current clients of the former employer, courts in this district have repeatedly held that they are not

enforceable as to prospective clients.            In Karasaki, this Court was asked to “enforce

non-solicitation and confidentiality agreements entered into by a former insurance brokerage

executive during his employment with Marsh.” Karasaki, at *1. On the basis of a non-solicitation

agreement almost identical to the one at issue here, Marsh – which is Plaintiff’s sister entity –

sought an injunction barring solicitation of not just Marsh’s clients, but also prospective clients.

Id. This Court rejected that request.

            Instead, this Court held that employees do not “not forge a [protectable] client relationship

with a prospective customer simply by sending the company a business proposal or making a pitch

for its business in a sales meeting,” id. at *17, and accordingly, this Court held that the restrictive

covenant was not enforceable as to prospective clients. Similarly, in Schuhriemen, in yet another

case in which Plaintiff’s sister entity attempted to enforce restrictive covenants against a former

employer, the court held that an injunction covering prospective clients would be “overbroad.” Id.

at 537 (citing Karasaki, at *17); see also Johnson Controls, Inc. v. A.P.T. Critical Sys., Inc., 323 F.

Supp. 2d 525, 540 (S.D.N.Y. 2004) (declining to enforce portions of a non-compete clause relating

to “potential clients of [the former employee] who were merely solicited” (emphasis in original)).

The same result should be reached here.

            Plaintiff’s flagrant overreach in this action illustrates the extent to which orders enjoining

contact with prospective clients are inherently overbroad and prone to abuse. The temporary relief

that Judge Engelmayer granted to Plaintiff included an injunction prohibiting defendants from

soliciting “any prospective clients of Mercer with whom any Individual Defendant had contact or

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from whom any Individual Defendant solicited business on behalf of Mercer during the last two

years of his or her employment.” (TRO at 3). Although Judge Engelmayer directed Mercer to

prepare a “limited” list of “entities as to whom Mercer has a specific factual basis for claiming that

one of the three individual defendants knew Mercer was preparing a pitch,” (TRO Hearing Tr.

74:2-10.), Mercer instead submitted a list of Eight Hundred and Seventy (870) entities.

            Mercer’s outrageously overbroad list is far “greater than is required for the protection of

the legitimate interest of the employer,” it imposes “undue hardship” on not just the employee, but

also its new employer, and it injures the public by inhibiting competition and preventing a broad

array of entities from selecting the insurance broker of their choice. BDO Seidman, 93 N.Y.2d at

388–89 (emphasis omitted). This Court should follow settled New York law and prior holdings in

this district – including its own – and reject Plaintiff’s request for an injunction that in any way

inhibits contact between defendants and entities that are not Plaintiff’s current clients.

            B.     The Non-Solicitation Provisions of the Individual Defendants’ Employment
                   Agreements are Unenforceable

            In Karasaki, this Court applied New York law to a case involving restrictive covenants

similar to those at issue here and held that, although the restrictions were not enforceable as to

prospective clients of the former employer, they were enforceable as to “client relationships

acquired during the course of employment.” Karasaki, at *16. The New York commercial

division has since found that, in certain contexts – including where employees are forced to sign

non-solicitation agreements as a condition of their employment – non-solicitation agreements

almost identical to those at issue here are not enforceable. See Alliant.

            In Alliant, the commercial division denied a motion for a preliminary injunction on facts

more striking than those here. In that case, several high-level employees of Marsh – Plaintiff’s

sister entity – resigned to join a competitor, and in doing so, took not just Excel spreadsheets


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identifying revenue and client names, but also business plans and a copy of a client contract. Id.

at *1. As Plaintiff did here, Marsh asserted claims against the former employees and their new

employees for, inter alia, breach of contract, misappropriation of trade secrets, unfair competition,

and tortious interference. Id. at *2. Marsh moved for an injunction similar to the one sought here,

but the court denied it in full.

            In holding that a non-solicitation agreement virtually identical4 to those at issue here was

unenforceable, the court relied on three factors. First, the court found that “[i]nsurance brokers are

generally not considered to be unique or extraordinary employees” such that losing them would

cause irreparable harm to their former employer. Id. at *3. Second, because client contact lists

contain only “publicly available information . . . that could be found in a phone book or on the

Internet,” the non-solicitation agreement at issue was “much broader than is necessary to prevent

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    The non-solicitation clause in Mercer’s Employment Agreement is as follows:
            Consequently, Employee covenants and agrees that in the event of separation from employment
            with the Company, whether such separation is voluntary or involuntary, Employee will not, for a
            period of twelve (12) months following such separation, directly or indirectly: (i) solicit clients of
            Employer for the purpose of selling or providing consulting services, projects or products of the type
            sold or provided by Employee while employed by Employer; or (ii) induce clients or prospective
            clients of Employer to terminate, cancel or discontinue business with Employer, or (iii) perform or
            supervise the performance of consulting services, projects or products of the type sold or provided
            by Employee while he or she was employed by Employer on behalf of any clients or prospective
            clients of Employer. This restriction shall apply only to those clients or prospective clients of
            Employer with whom Employee had contact or about whom Employee obtained Confidential
            Information or Trade Secrets during the last two (2) years of his or her employment with the
            Company.
Compl. ¶ 29. The Alliant non-solicitation agreement – which was drafted by Mercer’s sister entity – is as follows:
            Employee will not, for a period of twelve (12) months following such separation, directly or
            indirectly: (i) solicit clients of Employer for the purpose of selling or providing products or services
            of the type sold or provided by Employee while employed by Employer, or (ii) induce clients or
            prospective clients of Employer to terminate, cancel, not renew, or not place business with
            Employer, or (iii) perform or supervise the provision or performance of products or services of the
            type sold or provided by Employee while he or she was employed by Employer on behalf of any
            clients or prospective clients of Employer. This restriction shall apply only to those clients or
            prospective clients of Employer with whom Employee had contact or about whom Employee
            obtained Confidential Information or Trade Secrets during the last two (2) years of his or her
            employment with the Company.
Verified Complaint ¶ 19, Marsh USA, Inc. v. Alliant Ins. Servs., Inc., No. 651994/2015 (Sup. Ct. N.Y. Cnty. June 5,
2015), ECF No. 2.


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the disclosure of trade secrets or confidential information.” Id. at *2 (citing Reed, 40 N.Y.2d at

386 and Willis of New York, Inc. v. DeFelice, 750 N.Y.S.2d 39, 41-42 (1st Dep’t 2002)). Third,

Marsh had “failed to show . . . that it did not require the Individual Defendants to sign the

Non-Solicitation Agreements as a condition of their initial or continued employment.” Id. at *3.

            Thus, the court in Alliant held that such overbroad non-solicitation agreements are

unenforceable under New York law where the employer has not shown that it did not require the

employees to sign the agreements as a condition of employment. Alliant, at *2-3. Here, like

Marsh, Mercer has not shown – and cannot show – that it did not require the Individual Defendants

to sign the Employment Agreements “as a condition of their initial or continued employment.” Id.

at *3. Accordingly, this Court should similarly apply New York law to find the non-solicitation

agreements at issue unenforceable.

            C.    There is No Basis for an Order Enjoining Any Defendant from Servicing
                  Clients

            Mercer seeks to preliminarily enjoin Lockton Co. and the Individual Defendants from

servicing clients that have chosen to employ Lockton Co.’s or Lockton Southeast’s services.

Judge Englemayer refused to grant such relief in the TRO “in the interest of not disrupting the

client.” TRO Tr. at 78:2-4. For the same reason, this Court should not enjoin Lockton, Lockton

Southeast, or the Individual Defendants from servicing of clients who have chosen to employ

them. See, e.g., Kanan Corbin Schupak & Aronow Inc. v. FD Int’l Ltd., 797 N.Y.S. 2d 883, 891

(Sup. Ct. N.Y. Cnty. 2005) (finding that “[a]n injunction will not serve to retrieve these lost clients,

and the court cannot compel these clients to return to [the plaintiff]” and that “an injunction will

not serve to prevent [current clients] from exercising their own preference by moving

elsewhere.”).




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IV.         PLAINTIFF HAS NOT SHOWN THAT IT WILL SUFFER IRREPARABLE
            HARM IN THE ABSENCE OF AN INJUNCTION

            A.     Plaintiff’s Potential Losses are Readily Quantifiable.

            To the extent that defendants have committed any actionable conduct – and, as discussed

above, they have not – Plaintiff has not been and will not be irreparably harmed because any

profits lost by Mercer resulting from a loss of clients are quantifiable. For example, the lost net

profits from losses from lost clients could be calculated based on the trailing annual revenue

attributable to such clients, or the amount paid in commissions listed on the filed IRS Form 5500

for that client – which is publicly available. See DiGregorio Decl. ¶¶ 7, 8. Although this Court

previously held that, in some contexts, the loss of client relationships and client relationships is not

readily quantifiable, Karasaki, at *14, it does not appear that the parties in that action made this

Court aware of the publicly-available resources, such as IRS Form 5500, that could be used to

calculate damages.

            Because Plaintiff’s losses – if any – will be readily quantifiable, and because Plaintiff has

not shown that any of its relationships with existing clients have been significantly damaged,

Plaintiff has not shown that it will suffer irreparable injury absent a preliminary injunction.

            B.     The “Irreparable Harm” Provisions in the Employment Agreements Are Not
                   Dispositive With Respect to the Individual Defendants.

            Although the Individual Defendants agreed in each of the Confidentiality Agreements that

a breach would result in irreparable harm, such provision is not presumed to be binding if there is

evidence that the losses are quantifiable. See Baker’s Aid v. Hussmann Foodservice Co., 830 F.2d

13, 16 (2d Cir 1987) (“contractual language declaring money damages inadequate in the event of a

breach does not control the question [of] whether preliminary injunctive relief is appropriate”);

Markovits v. Venture Info Capital, Inc., 129 F. Supp. 2d 647, 661 (S.D.N.Y. 2001) (contractual

provision “is merely one factor that must be considered in deciding whether irreparable harm

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would result if an injunction did not issue”).

            For the reasons set forth above, Mercer’s potential losses attributable to any alleged breach

of the Non-Solicitation Agreements is quantifiable, and thus the “Irreparable Harm” provision are

not dispositive with respect to the Individual Defendants

            C.     The “Irreparable Harm” Provisions in the Employment Agreements Do Not
                   Apply to Any Lockton Entity

            Neither Lockton nor Lockton Southeast are parties to the Non-Solicitation Agreements,

and thus they are not bound by any presumption relating to the “Irreparable Harm” provision.

Moreover, as set forth above, there is no evidence that Lockton or Lockton Southeast interfered

with any existing or prospective client or with any enforceable contract, or that Lockton or

Lockton Southeast engaged in unfair competition or misappropriated confidential information.

Even so, Mercer does not even identify or argue in its papers that any conduct of Lockton will

result in irreparable harm to Mercer. Instead, Mercer solely describes the alleged harm arising

from the Individual Defendants’ own conduct. Accordingly, Mercer has failed in its burden to

prove that Lockton’s actions have irreparably harmed it.

V.          IF THE COURT ISSUES A PRELIMINARY INJUNCTION, PLAINTIFF
            SHOULD BE REQUIRED TO POST A BOND.

            Fed. R. Civ. P. Rule 65(c) confers broad discretion on a trial judge to set the amount of the

bond when a preliminary injunction is issued, or to dispense with the requirement of a bond

altogether. DeWitt Stern Grp., Inc. v. Eisenberg, No. 13 Civ. 3060, 2013 WL 2420835, at *6

(S.D.N.Y. June 4, 2013). Although the non-solicitation agreements here contain a reference to

Mercer’s entitlement to injunctive relief, “without the necessity of posting a bond” that language is

not binding on the Court and the Court may still impose a bond requirement in its discretion. See

Schuhriemen, at 538. As stated by Judge Rakoff in Schuhriemen, defendants “will likely be

harmed if a bond is not posted, since if [they win] on the merits, [they] will have been prevented

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from soliciting or servicing clients that [they are] entitled to service and therefore from garnering

further business and goodwill.” Id. Further, to the extent that this Court enjoins any Lockton

entity in any way – and for the reasons stated above, it should not – the provision in the

Employment Agreements addressing the bond have no relevance to Lockton Co. or Lockton

Southeast, as neither entity is a party to the Employment Agreements. Thus, if this Court issues a

preliminary injunction, defendants respectfully request that this Court require Plaintiff to post a

bond of at least $1,000,000.

                                             CONCLUSION

            For the reasons stated above, Defendants respectfully request that this Court vacate the

Temporary Restraining Order, deny Plaintiff any further injunctive relief, and grant any other

relief that this Court deems just and proper.

                                                 Respectfully submitted,

Dated: March 7, 2018
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